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                           EXHIBIT 27




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FEDERAL RESERVE SYSTEM                         SUMMARY: The Federal Trade                    "hold-up" by a patent owner-a demand
                                               Commission seeks public comments in           for higher royalties or other more costly
Notice of Proposals To Engage in               connection with a project to examine          licensing terms after the standard is
Permissible Nonbanking Activities or           the practical and legal issues arising        implemented than could have been
To Acquire Companies That Are                  from the incorporation of patented            obtained before the standard was
Engaged in Permissible Nonbanklng              technologies in collaborative standards,      chosen. Hold-up can subvert the
Activities                                     including the risk of patent "hold-up"        competitive process of choosing among
                                               and its effect on competition and             technologies and undermine the
   The companies listed in this notice         consumers . Among the topics to be            integrity of standard-setting activities.
have given notice under section 4 of the       considered are the disclosure of patent       Consumers can be harmed if
Bank Holding Company Act (12 U.S.C.            rights during the standard-setting            manufacturers are able to pass on higher
1843) (BHC Act) and Regulation Y, (12          process , the implications of a patent        costs resulting from hold-up.
CFR part 225) to engage de novo, or to         holder's commitment to license users of          Collaborative standard setting plays
acquire or control voting securities or        the standard on reasonable and non-           an important role in the modern
assets of a company, including the             discriminatory ("RAND") terms, and the        economy . In areas such as information
companies listed below, that engages           possibility of negotiating license terms      and communications technology, for
either directly or through a subsidiary or     prior to choosing the standard. The           example, the usefulness of complex
other company, in a nonbanking activity        Commission seeks the views of                 products and services often depends on
that is listed in § 225.28 of Regulation Y     consumers and the legal, academic, and        the interoperability of components and
(12 CFR 225.28) or that the Board has          business communities on the issues to         products of different firms. To enhance
determined by Order to be closely              be explored in this project. As part of       the value of these complex products,
related to banking and permissible for         the project, the Commission will              private firms-including competing
bank holding companies. Unless                 conduct a workshop and may prepare a          manufacturers, their customers and
otherwise noted, these activities will be      report discussing these issues. This          suppliers-frequently participate in
conducted throughout the United States.        notice poses a series of questions            standard-setting organizations (SSOs) to
   Each notice is available for inspection     relevant to those issues for which the        set technological standards for use in
at the Federal Reserve Bank indicated.         Commission seeks comment.                     designing products or services. While
The notice also will be available for          DATES: The workshop will be held June         such collaborations are not without
inspection at the offices of the Board of      21,2011, in the Conference Center of          antitrust risks, antitrust enforcers in the
Governors. Interested persons may              the FTC office building at 601 New            United States and Europe have
express their views in writing on the          Jersey Avenue, NW., Washington, DC.           recognized the valuable and pro-
question whether the proposal complies         Prior to the workshop, the Commission         competitive character ofthis kind of
with the standards of section 4 of the         will publish an agenda and further            legitimate standard-setting process. 1 It
BHC Act.                                       information on its Web site. Comments         can lead to innovation, better products
   Unless otherwise noted, comments            in response to this notice must be            and more competition.
regarding the applications must be             received on or before July 8, 2011.              Various technological alternatives
received at the Reserve Bank indicated         ADDRESSES: Interested parties are             may compete to be selected for the
or the offices of the Board of Governors       invited to submit written comments            standard . But once a technology is
not later than May 27, 2011.                   electronically or in paper form by            incorporated into a standard, and the
   A. Federal Reserve Bank of Chicago          following the instructions in the             standard becomes widely used, a
(Colette A. Fried, Assistant Vice              SUPPLEMENTARY INFORMATION section             manufacturer may find it difficult, or
President) 230 South LaSalle Street,           below. Comments in electronic form            indeed impossible, to switch to what
Chicago, Illinois 60690-1414:                  should be submitted by using the              were once alternative technologies. A
   1. Win trust Financial Corporation,         following weblink: https:11                   firm with a patent reading on the
Lake Forest, Illinois; to acquire 100          ftcpublic.comm entworks.comlftcl              standard often can demand a royalty
percent of the voting shares of Great          standardsproject (and following the           that reflects not only the ex ante market
Lakes Advisors, Inc., Chicago, Illinois,       instructions on the w eb-based form).         value of the patented invention, but also
and thereby engage in financial and            Comments filed in paper form should be        added value associated with changes in
investment advisory activities, pursuant       mailed or deli vered to the following         the marketplace and investments made
to section 225 .28(b)(6) of Regulation Y.      address: Federal Trad e Commission,           to implem ent the standard. This has
  Board of Governors of the Federal Reserve    Office of the Secretary, Room H-113           been called patent "hold-up."
System, May 10, 2011.                          (Annex Xl. 600 Pennsylvania Avenue ,             SSOs have sought to prevent hold-up
Jennifer J. Johnson,                           NW., Washington, DC 20580, in the             in several ways . First, many SSOs have
Secretary of the Board.                        manner detailed in the SUPPLEMENTARY          patent disclosure rules that try to ensure
IFR Doc . 2011-11777 Filed 5-12-11; 8:45 am]   INFORMATION section below.                    that SSO members are aware of relevant
BILLING CODE 621 ()-Ol-P                       FOR FURTHER INFORMATION CONTACT:              patents when adopting a standard.
                                               Patrick J. Roach,                             Second, they commonly require a patent
                                               standardsproject@ft c.gov, FTC, 600           holder to commit that after the standard-
                                               Pennsylvania Avenue, NW., Rm. NJ-             setting process is completed, it will
FEDERAL TRADE COMMISSION                       6264, Washington, DC 20580, 202-326-          license the patent on terms that are
                                               2793.
Request for Comments and                       SUPPLEMENTARY INFORMATION: This
                                                                                               1 U.S. Dept of Justice & Fed. Trade Comm'n,

Announcement of Workshop on                                                                  Antitrust Enforcem ent and Intellectual Property
                                               project focuses on practical and legal        Rights: Promoting Innovation and Competition, at
Standard-Setting Issues                        issues that arise from collaborative          33-56 (2007) ; Guidelines on the applicability of
                                               standard setting when standards               Article 101 of the Treaty on the functioning of the
AGENCY: Federal Trade Commission.                                                            European Union to horizontal co-operation
                                               incorporate technologi es that are
ACTION: Notice of workshop and request                                                       agreements, 2011 OJ C 11/1. Chapter 7 (2010) ,
                                               protected by intell ectual property rights.   available at I1ltp:llec.europa.eu!competitionl
for comments.
                                               Such a situation raises the potential for     anUtrust!Jegis]ationlhorizonta].htmJ.




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reasonable and non-discriminatory           has been implemented gives the patent            What prompted those reviews? What
("RAND"). Third, they may require or        holder excessive leverage that can lead          were the results of the reviews?
allow ex ante disclosure of specific        to patent hold-up . Whether a RAND                 • Are there mechanisms for an SSO to
licensing terms as part of the standard-    commitment is sufficient protection              encourage disclosure of relevant patents
setting process, before users of the        against hold-up depends on numerous              or patent applications held by
standard are locked in to using the         questions concerning its enforcement B nonmembers?
patented technology.                        whether it can be enforced under                    • What ambiguities concerning the
   However, the ability of disclosure       contract law, patent law, or antitrust           scope of a disclosure require ment exist
rules to protect consumers from patent      law, and what principles the courts              in SSO disclosure policies? Why do
hold-up is unclear. Such rules cannot       should look to in deciding disputes over they persist? Would more clarity be
bind patent holders that are not            RAND licensing terms.                            beneficial in preventing patent hold-up?
members ofthe SSO. Moreover, not all           To limit the patent holder's leverage            • What principles apply in judging
SSOs have disclosure rules. Even when       after the standard is implemented, some whether a patent holder's conduct
SSOs do have disclosure rules, the          SSOs allow or require disclosure of              before an SSO is deceptive? What is the
terms will not necessarily lead to          specific royalty and licensing terms ex          role of the SSO's patent disclosure
disclosure of all relevant patents. For     ante B during the standard setting               policy in judging whether conduct is
instance, disclosure is sometimes           process. The Department of Justice and           deceptive or unfair?
required only of issued patents, and not    the Commission have stated that                     • Does non-disclosure or lack of
pending applications that later may         unilateral announcements of price or             information about relevant patent rights
ripen into patents reading on a standard.   licensing terms by patent holders as part subvert the competitive process of
Further, to alleviate the burden on SSO     of the standards process present little          selecting technologies for standards or
members, disclosure usually is required     anticompetitive risk. The agencies also          undermine the integrity of standard-
only of patents known to a firm's           have stated that they will apply the rule setting activities? How?
representatives in the standards process,   of reason when evaluating joint
and does not require a full search of the   activities that allow potential licensees,       The RAND Licensing Commitment
firm's patent portfolio.                    before the standard is adopted, to                  • Is a RAND commitment part of an
   Many rules encourage disclosure of       negotiate licensing terms with patent            enforceable contract between the SSO
the existence ofrelevant patents, but are   holders.2 Despite this assurance by the          and the patent holder? Between the SSO
vague as to what should be disclosed        enforcement agencies, however, it does           members and the patent holder? Should
and when. This lack of clarity may          not appear that there has been wide use non-members of the SSO who wish to
undermine the ability of standards users    of ex ante licensing.                            use the standard be able to enforce the
to enforce the rules through allegations       In this project, the Commission seeks         commitment?
based on fraud, patent law estoppel or      to examine these and other issues                   • Do RAND licensing commitments
antitrust. In some situations, it may be    pertaining to potential patent hold-up of without accompanying disclosure
possible for a patent holder to deceive     collaborative standards. It intends to           commitments provide adequate
SSO members concerning its patent           consider antitrust issues, as well as            protection against patent hold-up?
rights-subverting the competitive           examine how other legal doctrines (such             • Has any SSO provided guidance on
process of choosing among                   as contract. patent, and consumer                how "reasonable" and "non-
technologies-without violating the          protection law), and economic and                discriminatory" licensing terms should
particular disclosure rules. For these      practical considerations affect the              be judged for a RAND commitment?
and other reasons, disclosure rules often   analysis of the issues. The Commission           What is that guidance? Why do SSOs
may not provide full transparency about     invites public comment on questions              not provide more definition of RAND?
possible patent interests implicated by a   relevant to these topics, including:                • Absent an SSO's definition or
standard, or effective relief of the                                                         express limitations given by the patent
                                            Disclosure of Patent Rights in an SSO
problem of potential patent hold-up.                                                         holder in its commitment, by what
   The most common mechanism used              • How do patent disclosure policies           standards should "reasonable" and "non-
by SSOs to attempt to prevent patent        vary among SSOs? How do disclosure               discriminatory" be determined? What
hold-up is the RAND commitment.             policies vary in their effectiveness of          principles should a court or tribunal
Many SSOs seek RAND commitments             making SSO members aware of relevant look to in resolving a dispute between
only on disclosed patents. Some SSOs        patent rights?                                   a potential licensor and licensee
require a RAND commitment for all              • What considerations drive variation concerning whether proffered terms are
patents owned by firms participating in     in disclosure policies? Why do SSOs              RAND?
the standard-setting process, and           adopt policies that may lead to                     • What evidence may be relevant in
dispense with a patent disclosure           incomplete disclosure of relevant                determining whether a proffered license
requirement. Setting specific terms of      patents, for instance by excluding patent is reasonable and non-discriminatory?
the patent license gen erally occurs in     applications from disclosure or by not              • Should a RAND commitment
bilateral negotiations between the patent   requiring members to search their patent preclude a patent holder from
holder and individu al standards users      portfolios?                                      demanding from users of the standard a
after the standard-setting process is          • When SSO policies create a                  cross-license for p atents that are
completed. sometimes long after the         potential for incomplete disclosure of           essential to practice of the standard? A
standard has been implemented .             members' patent rights, how else can             license of nonessential patents?
   Proponents of this practice argue that   members protect themselves against                  • If a patent holder that has given a
the use of RAND commitments often           hold-up?                                         RAND commitm ent enters into cross-
simplifies the standard-setting process        • When have SSO patent disclosure             licenses with some standards users , how
by allowing participants to focus on        policies been reviewed or amended?               should these be evaluated for purposes
technical issues. Others criticize the                                                       of determining whether terms it offers
RAND commitment as vague. They                , u.s. Dep't of Justice & Fed, Trade Comm'n,   others are non-discriminatory?
                                            Antitrust Enforcement and Intellectual Property
worry that leaving the negotiation of       Rights: Promoting Innovation and Competition, at    • Should a RAND commitment
licensing terms until after the standard    6-7,33-56 (2007).                                preclude a patent owner from seeking in




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patent litigation a preliminary            standardsproject (and following the                    Washington, DC 20580. The FTC is
injunction against practice of the         instructions on the Web-based form). To requesting that any comment filed in
standard? A permanent injunction? An       ensure that the Commission considers                   paper form be sent by courier or
exclusion order in the International       an electronic comment, you must file it                overnight service, if possible, because
Trade Commission? How should courts        on the Web-based form at the Web link:                 U.S. postal mail in the Washington area
and the ITC take a RAND commitment         https://ftcpublic.commentworks.com/                    and at the Commission is subject to
into account in these contexts?            ftclstandardsproject. If this notice                   delay due to heightened security
   • Under what circumstances should a     appears at http://www.regulations.gov/                 precautions. The FTC Act and other
RAND commitment given by a patent          #!home, you may also file an electronic                laws that the Commission administers
holder bind later owners of the patent?    comment through that Web site. The                     permit the collection of public
What steps can or should SSOs take to      Commission will consider all comments comments to consider and use in this
ensure that a transferred patent remains   that regulations.gov forwards to it. You               proceeding as appropriate. The
subject to a prior RAND commitment?        may also visit the FTC Web site at                     Commission will consider all timely
   • Does reneging on a RAND               http://www.ftc.govtoread the notice                    and responsive public comments that it
commitment subvert the competitive         and the news release describing it.                    receives , whether filed in paper or
process of selecting technologies for         Comments should refer to "Patent                    electronic form . Comments received
standards or undermine the integrity of    Standards Workshop, Project No. Pll-                   will be available to the public on the
standard-setting activities? How?          1204" to facilitate the organization of                FTC Web site, to the extent practi cable,
                                           comments. Please note that your                        at http://www.ftc.gov/os/
Ex Ante Disclosure and/or Negotiation
                                           comment-including your name and                        publiccomm ents.shtm. As a m atter of
of Licensing Terms
                                           your State-will be placed on the public discretion, the FTC makes every effort to
   • What has been the experience of       record of this proceeding, including on                remove home contact information for
those SSOs that require or allow ex ante the publicly accessible FTC Web site, at individuals from the public comments it
disclosure of licensing terms? How         http://www·ftc.gov/os/                                 receives before placing those comments
frequently do ex ante disclosures of       publiccomments.shtm. Because                           on the FTC Web site. More information,
licensing terms occur? Why are ex ante     comments will be made public, they                     including routine uses permitted by the
disclosures of licensing terms not         should not include any sensitive                       Privacy Act, may be found in the FTC's
required or made?                          personal information, such as any                      privacy policy, at http://www.ft c.gov/
   • How frequently do ex ante bilateral   individual's Social Security Number;                   ftclprivacy.htm .
negotiations of licensing terms occur?     date of birth; driver's license number or                 By direction of the Commission.
   • How frequently do ex ante             other State identification number, or
multilateral negotiations of licensing                                                            Donald S. Clark,
                                           foreign country equivalent; passport
terms occur? How are such negotiations number; financial account number; or                       Secretary.
conducted?                                                                                        [FR Doc. 2011-11 704 Filed 5-1 2-11 ; 6:45 am)
                                           credit or debit card number. Comments
   • What factors affect a firm's decision also should not include any sensitive                  BtLLlNG CODE 675G-01 - P
to engage in, or not engage in, ex ante    health information, such as medical
discussions or negotiations?               records or other individually
   • How does a patent owner's ex ante     identifiable health information. In                    GENERAL SERVICES
disclosure of licensing terms affect the   addition, comments should not include                  ADMINISTRATION
process of choosing technologies for       "trade secret or any commercial or                     [OMB Control No. 309Q-00xx; Docket No.
incorporation into the standard?           financial information which is obtained 2011-0001; Sequence 2]
   • How do ex ante discussions or         from any person and which is privileged
negotiations of licensing terms affect the or confidential" as provided in Section                Agency Information Collection
process of choosing technologies for       6(f) of the Federal Trade Commission                   Activities; Proposed Collection;
incorporation into the standard?           Act (FTC Act), 15 U.S.C. 46(f), and FTC                Comment Request; General Services
   • Has experience shown a difference     Rule 4.10(a)(2), 16 CFR 4.10(a)(2).                    Administration Acquisition Regulation;
between terms negotiated ex ante and       Comments containing material for                       Generic Clearance for the Collection of
terms negotiated ex post?                  which confidential treatment is                        Qualitative Feedback on Agency
   • To what extent do concerns about      requested must be filed in paper form,                 Service Delivery (GSA)
antitrust liability deter ex ante
                                           must be clearly labeled "Confidential,"                AGENCY: Gen eral Services
disclosure or negotiation of licensing
                                           and must comply with FTC Rule 4.9(c),3 Administration. (GS A)
terms?                                        A comment filed in paper form
   • What considerations should shape a                                                           ACTION: Notice of a request for
                                           should include the "Patent Standards
rule of reason analysis of joint ex ante                                                          comments regarding a new information
                                           Workshop, Project No. Pll 1204"
license discussions or negotiations?                                                              collection .
                                           reference both in the text and on the
Instructions for Filing Public Comments envelope, and should be mailed or                         SUMMARY: As part of a Federal
   Interested parties are invited to       delivered to the following address:                    Governmentwide effort to streamline the
submit written comments electronically Federal Trade Commission, Office of the process to seek feedback from the public
or in paper form. We must receive your     Secretary, Room HBI13 (Annex X), 600                   on service delivery, the General Services
comment by July 8, 2011. Because paper Pennsylvania Avenue, NW.,                                  Administration (GSA) will be
mail addressed to the FTC is subject to                                                           submitting a Generic Information
                                             'The comment must be accompanied by an               Collection Request (Generic ICR):
delay due to heightened security           explicit request for confidential treatment.
screening, please consider submitting      including the factual and legal basis for the request, "Generic Clearance for the Collection of
your comments in electronic form.          and must identify the specific portions of the         QuaHtative Feedback on Agency Service
Comments filed in electronic form          comment to be withheld from the public record.         Delivery" to OMB for approval under
should be submitted using the following The    request will be granted or denied by the
                                           Commission's General Counsel, consistent with
                                                                                                  the Paperwork Reduction Act (PRA).
Web link: https.';;                        applicable law and the public interest. See FTC        DATES: Submit comments on or before
ftcpublic.commentworks.com/ftc/            Rule 4 9(c), 16 CFR 4.9(c).                            June 13, 2011.



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                           EXHIBIT 28




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            THE EX ANTE AUCTION MODEL FOR THE CONTROL
               OF MARKET POWER IN STANDARD SETTING
                          ORGANIZATIONS



                        Damien Geradin, Anne Layne-Farrar
                               and A. Jorge Padilla


                               CEMFI Working Paper No. 0703




                                              May 2007



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 The ideas and opinions in this paper are exclusively our own.




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 CEMFI Working Paper 0703
 May 2007




           THE EX ANTE AUCTION MODEL FOR THE CONTROL
              OF MARKET POWER IN STANDARD SETTING
                         ORGANIZATIONS




                                            Abstract



 RAND commitments—i.e., promises to license on reasonable and non-discriminatory terms—
 play a key role in standard setting processes. However, the usefulness of those commitments
 has recently been questioned. The problem allegedly lies in the absence of a generally agreed
 test to determine whether a particular license satisfies a RAND commitment. Swanson and
 Baumol have suggested that “the concept of a ‘reasonable’ royalty for purposes of RAND
 licensing must be defined and implemented by reference to ex ante competition.” In their
 opinion, a royalty should be deemed “reasonable” when it approximates the outcome of an ex
 ante auction process where IP owners submit RAND commitments coupled with licensing terms
 and selection to the standard is based on both technological merit and licensing terms. In this
 paper we investigate whether the ex ante auction approach proposed by Swanson and Baumol
 is likely to deliver efficient outcomes, both from static and dynamic standpoints. We find that
 given the peculiar characteristics of some of the industries where standardization takes place, in
 particular the many different business models adopted by innovating companies in those
 industries, the ex ante auction approach proposed by Swanson and Baumol may not always
 deliver the right outcomes from a social welfare viewpoint.




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      I.     INTRODUCTION


               The adoption of proprietary technologies by standard-setting organizations
      (SSOs) is often necessary to ensure that the resulting standard provides the greatest
      possible value to its users and, therefore, to guarantee the success of the
      standardization process. However, some claim that the selection of proprietary
      technologies as standards may also create significant market power, generate returns
      in excess of those needed to remunerate innovation, distort competition and restrict
      the dissemination of new and superior technologies. A necessary (but not sufficient)
      condition for the creation of ex post (i.e., attributable to the standard selection)
      market power is the absence of alternative technologies that can be substituted for the
      selected technology at comparable user costs. 2 When such alternative technologies
      are available, an SSO’s endorsement of a proprietary technology as a standard may
      result in a reduction of (short-term) competition in the technology market. Otherwise,
      the selection process will have no adverse effect on technological competition.

               SSOs typically request the owners of technologies selected to be part of the
      standard to commit to license their intellectual property (IP) on reasonable and non-
      discriminatory (RAND) terms. There is a dispute about what a RAND commitment
      means in practice. Some authors argue that it simply represents a commitment to
      negotiate in “good faith” with all potential licensees. 3 Others interpret a RAND
      commitment as a waiver by an essential IP holder of its right to seek injunctive relief
      in case of patent infringement. 4 Some companies and their advisors have gone as far


      2
         See Daniel G. Swanson & William J. Baumol, Reasonable and Nondiscriminatory (RAND)
      Royalties, Standards Selection, and Control of Market Power, 73 ANTITRUST L. J. 1, 51-56 (2005);
      Anne Layne-Farrar, A. Jorge Padilla, & Richard Schmalensee Pricing Patents for Licensing in
      Standard Setting Organisations: Making Sense of FRAND Commitments (Working Paper, Oct. 2006),
      available at http://ssrn.com/abstract=937930.
      3
        See Damien Geradin & Miguel Rato, Can Standard-Setting Lead to Exploitative Abuse? A Dissonant
      View on Patent Hold-Up, Royalty Stacking and the Meaning of FRAND (Working Paper, Nov. 2006).
      available at http://ssrn.com/abstract=946792, forthcoming in EUR. COMP. J. (2007).
      4
        Joseph Scott Miller, Standard Setting, Patents, and Access Lock-In: RAND Licensing and the Theory
      of the Firm, IND. L. REV., forthcoming 2007.

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      as suggesting that a RAND promise constitutes a commitment to set royalty terms in
      proportion to the number of essential patents reading on a standard. 5

              The first interpretation—a commitment to negotiate in good faith—has been
      criticised as too imprecise. 6 The critics of this interpretation argue that a RAND
      commitment may be of limited value unless it is clear to both licensors and licensees
      “the concrete terms or range of terms that are deemed to be reasonable and non-
      discriminatory.” 7 This view has been recently questioned by Lichtman (2006), who
      explains why some degree of imprecision may be efficient. 8

              We have shown elsewhere that the last two interpretations are unfounded and
      would lead to inefficient outcomes. 9 Interpreting a RAND commitment as a binding
      promise not to seek injunctive relief would represent a major departure from current
      practice and would drastically diminish not only the ex post but also the ex ante
      bargaining power of IP holders creating the risk of under-compensation and under-
      investment. Under this interpretation, therefore, a RAND commitment would be
      disproportionate and inefficient. Finally, “numerical proportionality” ignores the fact
      that patent values are radically different and, consequently, it would tend to over-
      remunerate IP holders with relatively worthless patents at the expense of those others
      with more valuable IP. 10 The adoption of a numerical proportionality rule would thus
      be both economically inefficient and unfair.

              In a paper recently published in this journal, Daniel G. Swanson and William
      J. Baumol have proposed a solution to the potential for ex post market power for
      technologies selected by standard-setting organisations. They propose that “the
      5
          See, e.g., Nokia Q3 2006 Earnings Call Transcript (Oct. 19, 2006), available at
      http://seekingalpha.com/article/18841; Philippe Chappatte, Standard Setting and Patent Pools – Their
      implications for EU Competition Law, Presentation at the IBC Intellectual Property, Competition Law
      Conference (June 8, 2006), slide 6.
      6
        M. Howard Morse, Standard Setting and Antitrust: the Intersection between IP Rights and the
      Antitrust Laws, IP LITIGATOR (2003).
      7
        Swanson & Baumol, supra note 2, at 5.
      8
         Doug Lichtman, “Patent Holdouts in the Standard-Setting Process,” Academic Advisory Council
      Bulletin 1.3 (May 2006).
      9
         Geradin & Rato, supra note 3. Damien Geradin, Standardization and Technological Innovation:
      some reflections on ex-ante licensing, FRAND and the proper means to reward innovators, 29 WORLD
      COMP. 511, 527-28 (2006).
      10
         Id.

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      concept of a ‘reasonable’ royalty for the purposes of RAND licensing must be
      defined and implemented by reference to ex ante competition.” In sharp contrast to
      some authors, 11 Swanson and Baumol “rule out defining a reasonable RAND royalty
      as the royalty that would be observed in the event that the prospective licensees were
      to band together (either before or after standard selection) and act as a buyers’
      cartel.” 12 Such a cartel would raise a host of problems, including under-
      compensation for patent holders as IP buyers pressed for unfairly low licensing
      terms. Instead, they propose that SSOs conduct ex ante auctions of their standards. IP
      owners would submit RAND commitments coupled with licensing terms and the
      selection process would be based on technological merit and licensing terms.

              For Swanson and Baumol a “reasonable” royalty for RAND purposes “is or
      approximates the outcome of an auction-like process appropriately designed to take
      lawful advantage of the state of competition ex ante … between and among available
      IP options.” 13 This definition requires some explanation. First, as noted already,
      according to Swanson and Baumol a RAND promise is meant to “take lawful
      advantage” of ex ante competition and, as a result, is totally incompatible with the
      operation of a buyers’ cartel ex ante. Second, Swanson and Baumol explicitly
      acknowledge that their proposed definition only makes sense in circumstances where
      there are several “available IP options”—that is, when there is competition ex ante
      among feasible substitute technologies so that selection to the standard may create
      market power ex post. This means that auctions will not be of help in potentially
      many cases. Lastly, but not less importantly, Swanson and Baumol recognise that the
      ex ante auction process needs to be “appropriately designed” to ensure that it
      produces reasonable results. Not every auction-like process may do the job from a
      RAND standpoint. In fact, they suggest the adoption of the so-called “sealed bid”


      11
         See, e.g., Robert Skitol, Concerted Buying Power: Its Potential for Addressing the Patent Holdup
      Problem in Standard-Setting, 72 ANTITRUST L. J. 727 (2005); Gil Ohana, Marc Hansen, & Omar
      Shah, Disclosure and Negotiation of Licensing Terms Prior to Adoption of Industry Standards:
      Preventing Another Patent Ambush, 24 EUR. COMP. L. R. 644 (2003).
      12
         Swanson & Baumol, supra note 2, at 13. Emphasis added.
      13
         Id.,at 57. This definition has been adopted by the FTC in “Opinion of the Commission on Remedy,”
      In the Matter of Rambus, Inc., Docket No. 9302, at 17.

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      auction model, 14 where IP owners would simultaneously submit best and final offers.
      The winning IP holder is the one which offers the best technology-price proposition.

               In this paper we will focus on this last aspect of the Swanson and Baumol
      proposed definition of RAND licensing terms. Is the auction-like process proposed
      by these authors likely to yield efficient outcomes? That is, is it likely to compensate
      innovators and hence preserve the incentives to invest and innovate in new
      technologies? Is it likely to keep the cost of the selected technologies under control
      so as to ensure their optimal diffusion ex post? And lastly, would SSOs using ex ante
      auctions select the most efficient technologies, i.e., those that create most value for
      their users at a reasonable cost?

               We show that Swanson and Baumol’s emphasis on the design of the auction
      process is justified. Given the peculiar characteristics of the industries where
      standardization takes place (telecoms, semi-conductors, audio-visual, etc.) as well as
      the many different business models adopted by companies in those industries, some
      auction formats (e.g., a sealed-bid auction) may be preferable to others (e.g. an open
      ascending auction) in an economic sense. Unfortunately, however, no auction
      format—including the sealed-bid auction proposed by Swanson and Baumol—is
      likely to yield efficient outcomes once the specific characteristics of these industries
      and the asymmetric nature of the companies that operate in them is fully taken into
      account.

               For example, regardless of its design an ex ante auction may produce
      inefficient results when the competing technologies are in the hands of both
      vertically integrated and non-integrated companies. We show that the dual role of
      vertically integrated companies in the standard setting process—innovators and
      users—places them at a competitive advantage in the auction process. These
      companies may afford setting very low royalty rates because they have the option to
      fund their investment with downstream profits. This advantage leads to a number of
      results. First, SSOs may end up selecting the technologies owned by vertically

      14
        Id. at 17. In a sealed bid auction, all bidders simultaneously submit bids so that no bidder knows the
      bid of any other participant. The highest bidder pays the price it submitted.

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      integrated companies even if those technologies are not the most valuable. Second,
      non-integrated companies may have to bid very low to match the terms offered by
      their vertically integrated counterparts which may reduce their incentives to innovate
      and participate in the cooperative standardization process. Nor do the low rates set by
      vertically integrated firms guarantee low downstream prices. Third, non-integrated
      companies may be forced to exit the relevant innovation market.

               This is not the only problem we encounter. Ex ante standards auctions like
      those proposed by Swanson and Baumol may suffer from the so-called “winner’s
      curse” 15 and hence under-compensate innovation. They may also facilitate predation
      and collusion in technological markets (since these auctions are bound to be repeated
      over time given the dynamic nature of innovation and standardization). And, in any
      event, they are likely to perform poorly when technologies are complex and there is
      incomplete information about the value of each alternative. 16 In those circumstances,
      bilateral communication between buyers and sellers is important to assess the
      different technological options available to the standard. 17 The rigidities of the
      auction process may stifle such valuable communication. 18

               The analytical framework developed by Swanson and Baumol provides useful
      guidance on the meaning of RAND licensing. We concur with their claim that
      concerns about the opportunistic exploitation of ex post market power “will be
      magnified if the IP owner is also a participant in the downstream market” 19 and with
      their suggestion that a “non-discriminatory” license fee should satisfy the “efficient



      15
         The “winner’s curse” is a term used to describe a phenomenon in common-value auctions and
      bidding behavior. When a bidder wins an auction, it suggests that other bidders had lower valuations,
      indicating that the winning bid is very likely to be an overbid, resulting in an expected loss. See Paul
      D. Klemperer, Using and Abusing Economic Theory–Lessons from Auction Design, 1(2-3) J. EUR.
      ECON. ASS'N 272 (2003). See also, Gary Charness & Dan Levin, The Origin of the Winner’s Curse: A
      Laboratory Study (Working Paper, Jan. 24, 2005). The first formal claim of the “winner’s curse” was
      made by three petroleum engineers in their analysis of oil industry auctions. See E.C. Capen, et al.,
      Competitive Bidding in High-Risk Situations, 23 J. PETROLEUM TECH. 641 (1971).
      16
         Patrick Bajari, Robert McMillan, & Steven Taddelis, Auctions versus Procurement: An Empirical
      Analysis, (Stanford Univ., Working Paper, 2004).
      17
         Geradin & Rato, supra note 3.
      18
         Bajari et. al., supra note 16.
      19
         Swanson & Baumol, supra note 2, at 23.

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      component pricing rule” (ECPR). 20 We also agree with some of the qualitative
      implications of their approach to defining “reasonable” royalties, namely that
      reasonable license fees “must contribute to coverage of this constant stream of
      [R&D] costs and offer a profit incentive” 21 ; that the level of the reasonable royalty
      rate “will depend directly on the extent or degree of ex ante competition” 22 (i.e., on
      whether or not significant substitutes exist); and that reasonable royalties would not
      be “uniform and identical across all fields of use, territories, and customers.” 23 We
      also have used their approach to explain why patents covering technologies with a
      greater contribution to the value of the standard and without close substitutes before
      the standard gets adopted should receive higher royalty payments after the adoption
      of the standard. 24

               However, we are concerned with the practical application of their definition
      of RAND royalties as those that equate or approximate the outcome of ex ante
      auctions operated by SSOs. While we see merit in the claim that “the concept of a
      ‘reasonable’ royalty for purposes of RAND licensing can be defined and
      implemented by reference to ex ante competition”, 25 we do not agree with Swanson
      and Baumol’s contention that the ex ante auction model provides an analytical
      benchmark for what constitutes a reasonable royalty. 26 Ex ante auctions may not lead
      to efficient outcomes, may facilitate collusion and predation and will not be easy to
      implement in practice. Furthermore, we caution against the mechanic application of
      an ex ante benchmark by SSOs, courts and competition authorities, who should keep
      in mind that the existence of alternative technologies ex ante is only one of the many
      factors that could be taken into account in valuing patents ex post. That is, ex ante
      competition relates to just one of the fifteen relevant factors in calculating a

      20
         Id.
      21
         Id.
      22
         Id.
      23
         Id.
      24
         Anne Layne-Farrar et al., supra note 2. This paper shows that the same property is obtained in a
      very different model (the Shapley value model) where equality is emphasized over efficiency.
      25
         Swanson & Baumol, supra note 2, at 10.
      26
         Note that ex ante auctions can be viewed in two distinct ways: first as a prescription for SSOs,
      where auctions will be held to determine the IP contributors to a standard and second as a thought
      experiment that provides a benchmark for an ex post RAND evaluation of licensing terms.

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      reasonable royalty for the purposes of determining damages identified in Georgia-
      Pacific. 27 Moreover, there are many legitimate reasons why ex post licensing terms
      may be higher than ex ante terms—e.g., dynamic pricing, dissipation of uncertainty
      regarding the commercial value of the technology, etc. While evidence that ex post
      and ex ante terms coincide can be taken as proof of compliance for RAND purposes,
      the opposite is not necessarily true.

               The remainder of this paper proceeds as follows. In section II we provide a
      brief description of the Swanson-Baumol ex ante auction model. Section III
      investigates the efficiency implications of this model and explains why it fails to
      provide a valid and workable plan or benchmark for the determination of
      “reasonable” royalties in the context of RAND commitments. Section IV considers
      the IP policies of two SSOs—VITA and IEEE—and explains why they suffer from
      the same problems of the ex ante auction model. Section V concludes with a few
      constructive proposals.



      II. THE SWANSON-BAUMOL EX ANTE AUCTION


               As noted in the Introduction, Swanson and Baumol maintain that the outcome
      of an auction in which the owners of competing technologies bid for selection into
      the standard through the submission of RAND commitments coupled with
      representative licensing terms provides a plan or at least an ex post benchmark for
      what a reasonable royalty should be.

               These auctions would be conducted by SSOs under three assumptions: (1)
      there would be no collective royalty negotiations with bidders after a bid has been
      submitted; 28 (2) SSOs would select the winning bid by means of a decision-making
      (e.g., a voting) process that is not susceptible of being manipulated or biased by one


      27
         Georgia-Pacific Corp. V. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970). Factor 9 states:
      “The utility and advantages of the patent property over the old modes or devices, if any, that had been
      used for working similar results.”
      28
         Swanson & Baumol, supra note 2, at 17.

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      or more SSO members; 29 and (3) all parties would remain free to contract privately
      outside the standard-setting process and participation by potential licensors would be
      purely voluntary. 30 These assumptions, Swanson and Baumol claim, ensure that the
      outcome of these auctions would differ materially from the outcome of a potentially
      unlawful and probably economically inefficient joint negotiation.

              Swanson and Baumol illustrate the operation of the auction mechanism by
      means of a simple model where, crucially, none of the bidders produce final
      products—i.e., there are no vertically-integrated bidders (i.e., firms that both own
      patents under consideration and produce downstream products). In this simplified
      scenario there are two competing technologies, A and B, with different cost
      implications for downstream firms. The best IP option is A: it would result in
      downstream production costs of 5 per unit of output. Using technology B would lead
      to downstream production costs of 6 per unit of output. Under the assumption that
      licensing involves no recurring costs for the patent holder, and that both bidders
      know the cost reductions to producers that can be achieved with each technology
      (and which may or may not be passed on to consumers), bidder A should be expected
      to win the auction commanding a license fee of 1.

              The outcome of this auction replicates ex post the outcome of unrestrained
      competition ex ante: the expected outcome of the Swanson-Baumol auction will be
      the selection of the best IP option at a fee equal to the recurring costs of licensing
      plus the difference in value between the best and next-best IP alternatives. As rival
      technologies come closer to being perfect substitutes, the competitive royalty will
      approximate the incremental cost of licensing (0 in the simplified example).31




      29
         Id. at 17.
      30
         Id. at 17.
      31
         This simple one period model abstracts away the question of incentives for follow on research,
      which would be detrimentally affected if royalties provide an insufficient return on R&D investments.

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      III. ASSESSING THE EX ANTE AUCTION MODEL


              Swanson and Baumol “acknowledge, of course, that standards auctions may
      not always yield results as socially desirable as those of the basic model, particularly
      if the number of competing IP solutions is very limited and there is incomplete
      information about the value of each.” 32 They also acknowledge that the auction-like
      process may yield rewards for innovation that are appropriate from a social
      standpoint only if: (1) licensors cannot be approached by the SSO members
      collectively after their bids have been submitted to negotiate their claims
      downward; 33 (2) the selection process is not skewed by one or more SSO members;34
      and (3) licensors have the option to negotiate and contract outside the formal
      standard-setting process. 35 Unless all three conditions are met, Swanson/Baumol
      note that an auction-like process would harm innovation by creating monopsony
      power. 36 As they observe, “In the case of the typical SSO, however, the integration
      and efficiencies needed to justify outright collective bargaining on royalties are in
      short supply.” 37 Thus, instead of efficiencies, the outcome is likely to be under-
      compensation for innovation. We agree, and would add that even when these
      conditions are met, an auction-like process may still harm innovation, as we will
      explain below.

              First let us consider each of these three conditions carefully. The first
      condition requires SSO members to “credibly commit” and adhere to the auction
      mechanism initially adopted. Full commitment is a critical assumption in auction
      theory; but one that does not necessarily hold in practice. Economic theory has
      shown that the party who designs the auction has generally the incentive to change
      the auction rules in the middle of the play. And in many circumstances it may also
      have the ability to do so. Vartianen (2005) describes the commitment problem as


      32
         Swanson & Baumol, supra note 2, at 21.
      33
         Id. at 17.
      34
         Id.
      35
         Id.
      36
         Id.
      37
         Id. at 13.

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      “pathological”. 38 He shows that when the parties cannot commit themselves to the
      auction mechanism, the English (or open ascending) auction is the only feasible
      procedure. In particular, the sealed-bid auction proposed by Swanson and Baumol is
      not feasible in the absence of commitment power. The alternative, an English auction
      format may, as we will see below, facilitate the adoption of collusive or predatory
      strategies; which could be the reason why Swanson and Baumol proposed a sealed-
      bid auction instead.

              The second condition, which assumes that the SSO voting mechanism cannot
      be skewed by an individual member or subset of members, also may be problematic.
      This follows because, in practice, some SSO members—those that are vertically
      integrated—are also the owners of some of the competing technologies. Hence, these
      vertically integrated firms will have the incentive, and sometimes also the ability, to
      tailor the selection mechanism in their favour. For example, they may find it easier to
      win the auction (bid low) and have their technologies selected to the standard
      because, as noted earlier, they can earn profits downstream. In fact, vertically
      integrated firms may forgo royalty earnings altogether in favour of downstream
      earnings, an option not available to non-vertically integrated firms. Even if non-
      integrated IP owners do win a vote, they can only do so by bidding more
      aggressively in order to compensate for the bias, thus increasing the profitability of
      the downstream operations of the vertically integrated SSO members. 39

              Finally, it is not always possible for licensors to opt out of the formal
      standard-setting process. What are the options open to licensors that would like to
      “walk away”? One option might be to attempt a de facto standard, where the
      defecting firm would offer its proprietary solution as a competing standard over that
      offered by the cooperative SSO. Of course, this option only works if certain
      prerequisites hold. Namely, the firm must be able to offer a complete proprietary

      38
         Hannu Vartianen, Auction Design without Commitment, (Yrjö Jahnson Foundation, Working Paper,
      Mar. 2005).
      39
         See Jean Jacques Laffont & Jean Tirole, A THEORY OF INCENTIVES IN PROCUREMENT AND
      REGULATION ch. 14 (1993); Jean Jacques Laffont & Jean Tirole, Auction Design and Favoritism, 9(1)
      INT'L J. INDUS. ORG. 9 (1991); Fernando Branco, Procurement Favoritism and Technology Adoption
      (Center for Economic Policy Research, Discussion Paper 2270, 1999).

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      solution. In many instances—especially when complex high technology products are
      at issue—this will not be an option at all. Many firms only hold a piece of the
      solution and cannot establish a de facto standard on their own. Even if they could, it
      would have to be clear to the potential users of the standard that the proprietary
      solution was either technically superior to the SSO standard or low enough in cost to
      offset any technical inferiority. Otherwise, the defecting firm would have little hope
      of winning a de facto standards battle. Absent this option, the licensor might be able
      to join a competing SSO. Certainly some standards do face competition from other
      cooperative efforts centred on different technological solutions for the same or
      largely similar issues, 40 but this is far from the norm. Many times this option will
      simply not be available. 41 Lastly, the firm considering defection might just abstain
      from participating in standard setting efforts altogether. For certain standards, this
      might be a viable option. For example, if the standard does not cover the firm's core
      technologies, but is instead peripheral to its primary commercial interests, this may
      be an attractive option. But for products that are core, this will not be viable at all. In
      many industries, not participating in the standard setting efforts can effectively shut a
      firm out of a market altogether. This is apparently the case for 802.11 technologies.
      For any firm that wants to offer products or help direct the evolution of wireless
      networking, participation in the IEEE standard setting efforts is mandatory. 42

               It is thus unrealistic to suggest that licensors disgruntled with an SSO's rules
      or procedures should simply leave. One must first ask whether, in the particular
      circumstances at hand, leaving is even an available choice. This is of great practical
      importance: the ability to walk away from a deal is a key determinant of a firm’s

      40
         For example, in mobile telecoms two competing standards, CDMA and GSM, compete for operator
      networks and, through them for end users.
      41
         For example, in the case of 802.11n, a standardization effort formed outside of the IEEE, known as
      the EWC. Though the group was comprised of vendors with "90 percent of the market" and it seemed
      they could proceed without the involvement of an official standard setting body, the group still pushed
      for the approval and involvement of the IEEE. See B. DeLacey, K. Herman, D. Kiron, & J. Lerner,
      Strategic Behavior in Standard-Setting Organizations (Working Paper, 2006), available at
      http://papers.ssrn.com/sol3/papers.cfm?abstract_id=903214
      42
         See Thomas Eisenmann & Lauren Braley, Atheros Communications, Harvard Business School Case
      Study 9-806-093, Feb. 13, 2006. The discussion of implementing 802.11 products and competing with
      other firms doing the same makes clear that those not involved in the IEEE standard setting process
      have little hope of competing effectively in this market.

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      bargaining power. 43 Such freedom indicates that the firm not locked into a particular
      relationship, and is instead able to make credible threats that push negotiations
      forward. If a firm is not able to walk away, its bargaining power is small. A licensor
      that faces collective action by SSO members and has no credible “outside” option
      will have to accept the terms imposed by the buyer cartel even if that means that its
      investments are under-compensated.

              In sum, none of the three conditions is trivial. The model that Swanson and
      Baumol present is eloquent and informative, but there are reasons to believe that one
      or more of their three conditions may fail in any given real-world standard-setting
      process. Hence, there is a serious risk that the result of the auction process would
      lead to collective price negotiation that in turn under-compensated patent holders and
      reduced incentives for innovation. These are, however, not the only difficulties faced
      by the ex ante auction approach, as we explain in the remainder of this section.


           A. Alternative auction mechanisms
              If the values of the competing technologies are private information (i.e.,
      known only to the technology holder)—as they are likely to be—the outcome of a
      standards auction, and consequently the use of such ex ante royalty rates as a
      benchmark as well, will be a function of the precise auction mechanism adopted by
      the SSO. As explained in detail in Klemperer (2004), 44 different auction designs tend
      to produce different outcomes. The celebrated “revenue equivalence theorem” in
      auction theory states that the expected outcome of different auction mechanisms will
      coincide when, among others, the following assumptions hold: (a) each bidder’s
      (privately known) valuation is independent of its competitors’ private valuation and
      (b) bidders are symmetric (more precisely, their privately known valuations are
      drawn from a common distribution). 45 Neither of these two assumptions is likely to
      hold in the standard-setting context.


      43
         See Ken Binmore, Avner Shaked, & John Sutton, An Outside Option Experiment, 104 Q. J. ECON.
      753 (1989).
      44
         PAUL KLEMPERER, AUCTIONS: THEORY AND PRACTICE (2004).
      45
         That is, the range of possible outcomes is the same. Id.

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               First, the valuations of the various IP owners whose technologies compete to
      be selected to the standard are likely to be correlated (or to be absolutely precise
      “affiliated” 46 —i.e., not independent). Each IP owner will estimate the size and
      profitability of the downstream product or products in which its technology will be
      embedded if selected to the standard. It will rely on its own understanding of the
      market, but only to some extent. IP owners will also lean on the views of market
      analysts and customers. In consequence, when the value estimate of an IP owner is
      high, the estimated values of all other IP owners are also likely to be high. Economic
      theory shows that when valuations are correlated, as it is likely to be the case in SSO
      ex ante auctions, an open ascending auction will lead to more aggressive (lower
      royalty) bidding than a sealed-bid auction, potentially to the point of no longer
      providing coverage for that “constant stream of R&D”. 47

               Second, as explained above, many standard-setting processes involve both
      non-integrated and vertically integrated IP owners. The valuations of these two
      different types of players are bound to be different. Vertically integrated companies
      are likely to have more precise information about the potential size and profitability
      of the downstream markets enabled by the standard. Furthermore, their dual role as
      sellers and buyers of technology dramatically affects their bidding incentives. Maskin
      and Riley (2000) show that when bidders’ valuations are asymmetric an open
      ascending auction will tend to favour bidders with higher valuations, while the
      opposite is true with a first-price sealed-bid auction. 48

               In conclusion, the outcome of an SSO-sponsored auction will depend on its
      precise design. Which design is more efficient depends critically on fine details about
      the values of the technologies of the competing IP owners, which in reality will only

      46
         To use an analogy from first semester statistics class, the two assumptions describe the process of
      pulling a marble from an urn, observing whether it is black or white, and then returning it to the urn.
      Each draw from the urn is unaffected by previous or subsequent draws and each draw has the same
      odds of producing a black versus a white marble. This is typically not the case with technologies in
      real world standards. There, some common factors affect each draw, so that the draws are no longer
      independent.
      47
         Paul R. Milgrom & Robert J. Weber, A Theory of Auctions and Competitive Bidding, 50(5)
      ECONOMETRICA 1089 (Sept. 1982).
      48
         Eric S. Maskin & John G. Riley, Asymmetric Auctions, 67(3) REV. ECON. STUD. 413 (July 2000).

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      be imperfectly known by SSO members. This is of course troublesome: in principle,
      there could be as many ex ante benchmarks as possible auction processes.

              Swanson and Baumol address this problem by proposing the sealed-bid
      auction model. This auction mechanism has many virtues. As explained in Klemperer
      (2002), 49 a first-price sealed-bid auction discourages collusion among bidders and
      encourages entry. In an ascending auction, collusion is easier because bidders can use
      the first rounds of the auction to signal who should win and they can also detect a
      deviation easily due to the transparency of the auction design. Furthermore, in an
      open ascending auction “there is a strong presumption that the firm which values
      winning the most will be the eventual winner, because even if it is outbid at an early
      stage, it can eventually top any opposition. As a result, other firms have little
      incentive to enter the bidding, and may not do so if they have even modest costs of
      bidding”. 50

              However, the sealed-bid auction also has its own drawbacks. Most
      importantly, it may lead to inefficient outcomes: the auction need not be won by the
      bidder with the highest valuation (i.e., in the context of standard-setting, the IP owner
      with the technology that is likely to result in a wider and more profitable downstream
      market). 51 Also, as noted above, when valuations are correlated, a first-price sealed
      bid auction is likely to result in higher royalty rates than an open ascending auction
      provided that the valuations of competing bidders are not too asymmetric. This is due
      to the so-called “winner’s curse”. As explained by Klemperer (2003), “The ‘winner’s
      curse’ reflects the fact that winning an auction suggests one’s opponents have
      pessimistic views about the value of the prize, and bidders must take this into account
      by bidding more conservatively than otherwise”. 52 The winner’s curse correction is
      smaller in open ascending auctions because each bidder can infer the valuations of its



      49
         Paul D. Klemperer, What Really Matters in Auction Design, 16(1) J. ECON. PERSP. 169 (2002).
      50
         Id. at 5.
      51
         Id. at 14.
      52
         Paul D. Klemperer, Using and Abusing Economic Theory---Lessons from Auction Design, 1(2-3) J.
      EUR. ECON. ASS'N 272 (2003).

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      competitors by observing the points at which they stop bidding. 53 Finally, though
      sealed-bid auctions make collusion and predation less likely, they do not eliminate
      those risks entirely.


           B. Asymmetric bidders
              A key assumption in the basic auction model analysed by Swanson and
      Baumol is that all patent owners are vertically disintegrated—i.e., they are pure
      innovators. In reality, however, both non-integrated firms and firms with both
      intellectual property and manufacturing interests compete to see their technologies
      adopted by SSOs. This factual discrepancy has important implications. The vertically
      integrated competitors may be able to win the auction sponsored by the SSO even if
      their technologies are less valuable than those of their non-integrated counterparts.
      Such vertically integrated companies not only licence to third parties, but also
      implicitly licence to themselves as manufacturers. This means that they
      simultaneously act as sellers and buyers of their own IP. Effectively, those
      competitors hold a stake in the prize of the auction, which in this case is the net
      present value of the revenues generated by the owner of the technology selected to
      the standard.

              Economic theory predicts that holding a stake in the prize of an auction,
      generally referred to as a “toehold” in the literature, may have a significant impact on
      bidders’ behaviour and hence on the results of the auction. A bidder is said to have a
      toehold in an auction if he owns a stake in the prize that is being auctioned. This
      situation arises frequently (but not exclusively) in takeover auctions, where potential
      bidders acquire a small stake in the target company being auctioned before the
      auction takes place. In the standard-setting context, a bidder will have a toehold in
      the auction prize if a share of the revenues generated by the owner of the technology
      selected to the standard corresponds to the payments made by its downstream


      53
        This is strictly true when the valuations of bidders are symmetric. When valuations are asymmetric,
      the winner’s curse may aggravate the disadvantages faced by the weaker bidders (those with low
      valuations). In this case a sealed bid auction may perform better from the viewpoint of the SSO
      members.

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      subsidiary. The effects of such toeholds have been analysed extensively in the
      economics literature. 54

              The literature has established that the presence of a toehold has two effects on
      bidding behaviour. 55 The first is a direct effect: a toehold changes a bidder’s
      valuation because a share of the auction prize flows back to him through his stake in
      the prize. In other words, having a toehold makes winning the auction more valuable
      so the toehold bidder can bid more aggressively. In addition, there is also an indirect
      effect. The existence of toeholds aggravates the risk of the winner’s curse for bidders
      without toeholds (or with toeholds that are relatively small compared to another
      bidder’s), making them bid even less than they otherwise would have. This is
      because a bidder who beats a bidder with a (larger) toehold learns that the true value
      of the prize has been grossly over-estimated. Conversely, the risk of the winner’s
      curse is reduced for the bidder with the largest toehold, meaning this bidder will
      shade her bid less than she otherwise would have. As a result, the toehold bidder is
      more likely to win.

              Let us illustrate the effects of such toeholds using the simple model
      developed by Swanson and Baumol to explain the functioning of their proposed ex
      ante auction. As explained above, there are two competing technologies: A and B.
      The owners of both technologies—companies A and B, respectively—are vertically
      disintegrated, i.e., they have no toehold on the auction prize. Technology A would
      result in downstream production costs of 5 per unit of output, while technology B
      would lead to downstream production costs of 6 per unit of output. Under the
      assumption that licensing involves no recurring costs and that both bidders know the
      cost reductions that can be achieved with each technology, bidder A would win the
      auction commanding a license fee of 1 per unit of output.

      54
         See, e.g., Jeremy I. Bulow, Ming Huang, & Paul D. Klemperer, Toeholds and Takeovers, 107(3) J.
      POL. ECON. 427 (1999); David Ettinger, Takeovers, Toeholds and Deterrence, (ELSE, Univ. College
      London, Working Paper, 2003); Sudipto Dasgupta & Kevin Tsui, Auctions with Cross-Shareholdings,
      24(1) ECON. THEORY 162 (July 2004); Sandra Betton, B. Espen Eckbo, & Karin S. Thorburn, The
      Toehold Puzzle, (CEPR Discussion Paper No. 5084, May 2005), available at
      http://ssrn.com/abstract=776704
      55
         Paul D. Klemperer, Auctions with Almost Common Values: The “Wallet Game” and its
      Applications, 42(3-5) EUR. ECON. REV. 757 (1998).

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               Suppose instead that company B is vertically integrated and its downstream
      profits are π(f+c), where f is the license fee and c is the production cost paid by B. Of
      course, B’s downstream profits are greater when f+c is smaller (formally, π(f+c) is
      decreasing in f+c or π’(f+c) < 0). Company B has a toehold in the prize of the
      auction: a lower license fee increases its downstream profits. This has an impact on
      its bidding behavior. In the basic model, with no toehold, company B was willing to
      lower its license fee in order to win the contest provided that it was larger than zero.
      This is why company A was only able to extract a license fee of 1 per unit output.
      With a toehold, company B’s total profits when A charges 1 and B sets its fee equal
      to 0 are π(1+5). Would B have the incentive to set a licensee fee f < 0 in order to win
      the auction? Suppose it does set f below 0 and wins the auction. Its total profits
      would be equal to f + π(f+6). The first term, which measures B’s licensing profits, is
      negative but the second term, which gives B’s downstream profits, is greater than
      π(1+5) or π(6). Therefore, company B will prepare to bid below 0 if π(f+6) - π(6) > -
      f. That is, if the loss incurred in the licensing market is more than compensated by the
      increase in downstream profits. It is easy to show that this will be the case provided
      that a reduction in the license fee has a significant positive impact on downstream
      profits. 56 When that condition holds, B will bid below 0 and A will have to accept a
      licensee fee below 1 or risk losing the auction despite its technological superiority.

               This is not just theory. The importance of toeholds in auctions has been
      documented empirically. Betton and Eckbo (2000) have shown in a sample of 1353
      tender offer contests over the period 1971-1990 that greater toeholds increase the
      probability of success and lower the probability of rival entry into the contest. 57
      Likewise, Walking (1985) has also shown that bidder control of target shares prior to
      the offer substantially increases the probability of acquiring the desired number of
      additional shares. 58

      56
         Mathematically, π(f+6) - π(6) = f π’(6). So condition π(f+6) - π(6) > - f van be rewritten as π’(6) < -
      1 or │π’(6)│> 1, where │·│ indicates absolute values.
      57
         Sandra Betton & B. Espen Eckbo, Toeholds, Bid-Jumps and Expected Payoffs in Takeovers, 13(4)
      REV. FIN. STUD. 841 (2000).
      58
         Ralph A. Walking, Predicting Tender Offer Success: A Logistic Analysis, 20(4) J. FIN. &
      QUANTITATIVE ANALYSIS 461(Dec. 1985).

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                 In conclusion, in a standard-setting context, the dual role of vertically
      integrated companies in the standard setting process—innovators and users—would
      place them at a competitive advantage in any ex ante auction. They can offer
      attractive licensing terms because of their downstream profits. In consequence, SSOs
      operating auctions like those proposed by Swanson and Baumol may select the
      technologies owned by vertically integrated companies even if those technologies are
      not the most efficient. Non-integrated companies may have to bid very low to match
      the terms offered by their vertically integrated counterparts, which may reduce their
      incentives to innovate and participate in the cooperative standardization process.
      Non-integrated companies may even be forced out of the relevant innovation market.


             C. Multi-dimensional auctions
                 One of the most significant obstacles in applying ex-ante auctions to standard
      setting lies in the nature of the product being auctioned. The objects of an SSO
      auction are complex technologies with multiple characteristics. SSO members are
      typically concerned not only with the level of the royalty rate the owner of a patent
      asks for, but also frequently care about a range of quality parameters associated with
      the patented technology. Such parameters might include the ease or cost with which
      the technology can be implemented, the performance or processing speed, the degree
      of interoperability with other components, or the technical reliability. The members
      of an SSO will evaluate not only the financial terms of the bids from different IP
      holders, but also the relevant quality parameters of the respective bids. Alternative
      technologies will compete not only on pre-committed royalty rates, but also on the
      various technical benefits from using one technology rather than the alternatives.

                 Economic theory shows that it is very difficult to design an auction which
      leads to the most efficient outcome when the subject of the auction involves multiple
      dimensions. For example, Dasgupta and Maskin (2000) show that when bidders’
      characteristics are multi-dimensional there is no efficient auction where bidders
      compete in price only. 59 Manelli and Vincent (1995) provide a good illustration of

      59
           Partha Dasgupta & Eric Maskin Efficient Auctions, 115(2) Q. J. ECON. 341 (May, 2000).

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      that general result. They consider an economic scenario in which a buyer (the SSO in
      the standard setting context) faces a number of potential sellers (technology owners)
      who are privately informed about the “quality” of their products (technologies). 60
      Increasing quality is costly. Manelli and Vincent show that an auction where sellers
      bid on price only may be very inefficient. The reason is that a simple auction of that
      sort will allocate the trade to the bidder or bidders offering the lowest prices (will
      select the technology of the IP owner quoting lower royalty terms). But in their
      setting a low bid is associated with a product of low quality. They show that the
      winning bid converges to the lowest possible quality level when the number of sellers
      increases, and that this is unambiguously suboptimal when the contribution of quality
      to social surplus is large enough. Finally, they also demonstrate that sequential
      bargaining may yield results which are superior from a social viewpoint than those of
      an auction.

              In practice, a number of different methods have been employed to deal with
      this problem as effectively as possible. For instance, procurers frequently rely on
      detailed request-for-quotes (RFQ) that specify minimum standards that a bidder must
      satisfy so that they can evaluate the bids on price only. In other cases, the buyer of a
      service might pre-select a small number of bidders and then negotiate on all
      dimensions of the service with each of them. It seems unlikely that either of these
      approaches would offer an efficient way to deal with auctions over a standard.

              Scholars, likewise, have devised methods for multi-dimensional auctions—
      where bidders not only quote prices but also compete on non-price dimensions—but
      they too present some problems. One such method is something referred to as the
      “scoring function”. According to this proposal, the most straightforward way to
      evaluate multi-dimensional bids is to assign a score to each price/quantity
      combination and to rank the bids according to their scores. Applying a scoring
      function effectively reduces a multi-dimensional auction to a one-dimensional
      auction. However, it is crucial to choose a scoring function that sets the right

      60
        Alejandro Manelli & Daniel R. Vincent, Optimal Procurement Mechanisms, 63(3) ECONOMETRICA
      591 (1995).

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      incentives. 61 Some commentators argue, for instance, that the choice of an
      inappropriate scoring function led to inefficient bidding behaviour in the Biennial
      Resource Planning Update (BRPU) auctions held in 1993 in the Californian
      electricity market. 62 The score function was a naïve linear function of the two
      components of the bids, capacity and energy provision, which had an adverse
      incentive effect on bidders in that their bids deviated enormously from actual
      marginal costs.

              Another solution suggested in the literature is a two stage auction meant to
      split the various dimensions apart. In the first stage, the firm/bidder is chosen by an
      auction; in the second stage bargaining over product specifications take place. The
      literature shows that this auction form is superior to a single stage auction (possibly
      with a scoring function) when bidders’ valuations are correlated. 63 However,
      bargaining over quality in the second stage might not be feasible in the context of a
      SSO. Efficient bargaining requires that the buyers (the SSO members) be informed
      about the quality parameters of the losing bidders, allowing efficient negotiations
      with the winning bidder about the optimal product specifications. In the context of IP
      rights, the competing technologies are likely to be complex and different in nature,
      and the members might fail to negotiate efficiently with the patent holder. 64

              The model of an ex ante auction in Swanson and Baumol works well because
      it concerns process innovations—i.e., technologies that facilitate reductions in the
      unit costs of production. This makes it simple to construct an additive scoring
      function: fi+ci, where fi is the license fee offered by IP owner i and ci is the unit cost
      of production when technology i is adopted. The winner in the auction is the one with
      the lowest score. Matters become much more complicated when the standard is

      61
         Yeon-Koo Che, Design Competition through Multidimensional Auctions, 24(4) RAND J. ECON. 668
      (1993).
      62
         See James B. Bushnell & Shmuel S. Oren, Bidder Cost Revelation in Electric Power Auctions, 6(1)
      J. REGULATORY ECON. 5 (Feb. 1994); Paul Gribik , Learning from California's QF Auction, Public
      Utilities Fortnightly, Apr. 15, 1995; Hung-po Chao & Robert Wilson, Multi-Dimensional
      Procurement Auctions for Power Reserves: Robust Incentive-Compatible Scoring and Settlement
      Rules, 22(2) J. REGULATORY ECON. 161 (2002).
      63
         Fernando Branco, The Design of Multidimensional Auctions, 28(1) RAND J. ECON. 63 (1997).
      64
         Id.

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      concerned with product innovations—i.e., when technologies differ on quality
      dimensions which cannot be easily translated into price (license fee) equivalents.


           D. Complementary patents
               Another key feature of standard setting is that standards typically comprise
      multiple innovations, which are often protected by patents. 65 For example, the
      WCDMA air interface standard—a protocol to enable communication between
      mobile handsets and base stations—involves many patented innovations in the area
      of mobile communications. 66 Some of the patents in a standard are regarded
      “essential” to the standard. 67 From the viewpoint of a manufacturer that intends to
      develop and commercialise a product that is compliant with a standard incorporating
      multiple essential patents, all those patents are strict complements: the company
      needs to obtain licenses for each of them in order to avoid the risk of legal damages
      and abrupt termination of business. In many standards the ownership of the essential
      patent rights is fragmented: no legal entity has all the rights necessary. 68 This is the
      case of the WCDMA standard where Ericsson, Nokia, Qualcomm and several others
      declare to hold patents that are essential to the standard.

               The existence of multiple, complementary patents may not pose a problem in
      some simple scenarios. For example, Layne-Farrar et al. (2006) have extended the
      simple auction model in Swanson and Baumol (2005) to deal with multiple
      complementarity patents. These authors find that patents covering “essential”
      technologies with a greater contribution to the value of the standard and without
      close substitutes before the standard gets adopted should receive higher royalty

      65
         See Mark A. Lemley, Intellectual Property Rights and Standard Setting Organisations, 90 CAL. L.
      REV. 1889 (2002) and references therein.
      66
         See DAVE MOCK, THE QUALCOMM EQUATION: HOW A FLEDGLING TELECOM COMPANY FORGED A
      NEW PATH TO BIG PROFITS AND MARKET DOMINANCE (2005).
      67
         The European Telecommunications Standards Institute (ETSI) has defined essential patents as those
      patents for which “… it is not possible on technical (but not commercial) grounds, taking into account
      normal technical practice and the state of the art generally available at the time of standardization, to
      make, sell, lease, otherwise dispose of, repair, use or operate equipment or methods which comply
      with a standard without infringing that intellectual property right.” See “ETSI Intellectual Property
      Rights Policy”, available at http://www.etsi.org/legal/home.htm.
      68
         See ILKKA RAHNASTO, INTELLECTUAL PROPERTY RIGHTS, EXTERNAL EFFECTS AND ANTI-TRUST
      LAW, LEVERAGING IPRs IN THE COMMUNICATIONS INDUSTRY (2003).

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      payments after the adoption of the standard. 69 However, their model, as the original
      model developed by Swanson and Baumol, assumes that at the ex ante stage there is
      no uncertainty with respect to which patents are relevant to the standard. This may
      not be always realistic, which may affect the performance of the ex ante auction in
      ways that are difficult to predict: Since the patents comprising a standard are
      complementary, the bidding behaviour of suppliers of one capability will depend on
      the outcome in an auction of another capability and/or on the emergence of new
      patents/technologies later on that will enhance the value of the standard. When the
      set of essential patents is known and stable, the interconnection between the various
      auctions need not be problematic. But when it is not, then the auction outcome may
      be hard to predict.


           E. Uncertainty
               Yet another practical complication in applying auctions to standard setting is
      that most standards entail a high degree of uncertainty during their development,
      which could lead to strong incentives to renegotiate ex post. 70 At early stages of
      negotiations on a standard, uncertainty will run high over which IP will be included
      and which technological path will be followed. During the development process,
      some new and superior complementary IP could arise, or the mix of patents might be
      different than expected at the outset. Whenever agents receive new information,
      though, they may want to renegotiate licensing terms agreed to before. Of course, as
      long as one party insists on the original contract such renegotiation is blocked, but if
      both parties find it profitable to renegotiate no-one can prevent them from cancelling



      69
        Anne Layne-Farrar et al., supra note 2.
      70
        Renegotiation is extensively discussed in the field of contract theory. There is usually scope for
      renegotiation when a contract does not cover all future eventualities (incomplete contracts). See for a
      general textbook on contract theory: PATRICK BOLTON & MATHIAS DEWATRIPONT, CONTRACT
      THEORY (2005). Examples of high-level contributions to this field which highlighted the impact of
      renegotiation on the initial contract design include: Oliver D Hart & John Moore ,Incomplete
      Contracts and Renegotiation, 56(4) ECONOMETRICA 755 (1988); Eric Maskin & John Moore,
      Implementation and Renegotiation, 66(1) REV. ECON. STUD. 39 (1999); and Philippe Aghion, Mathis
      Dewatripont, & Patrick Rey, Renegotiation Design with Unverifiable Information, 62(2)
      ECONOMETRICA 257 (1994).

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      a contract or deal to agree on more favourable terms. Thus, choosing when an
      auction is held would be critical to limiting any wasteful renegotiations.


             F. The risk of under-compensation
                 Because of all these problems and shortcomings, the adoption of an ex ante
      auction may result in serious under-compensation of productive investment and
      innovation. This should be a matter of great concern for regulators and antitrust
      authorities. As stated by Swanson and Baumol, “Careful attention must be paid to the
      risk that the policies and practices adopted by SSOs and the actions taken by the
      participating members in the course of the standard-setting process may yield
      rewards for innovation that are too low by comparison to the level of incentives
      normally entailed by the intellectual property laws and accepted by the antitrust
      laws”. 71

                 Note first of all that even in the simple model developed by Swanson and
      Baumol, where none of the problems listed above applies, the payment received by
      the winner of the ex ante auction—company A—may not be enough to properly
      compensate the investment costs incurred in developing its superior technology.
      Indeed, company A receives a payment equal to the incremental value of its
      technology relative to the next best option. It will receive that payment for as long as
      the standard relies on its technology and its patent does not expire. It should be clear
      that such an amount may or may not exceed its R&D costs (plus an adequate rate of
      return which takes into account the risky nature of its investment). Consequently,
      even in the basic setting analysed by Swanson and Baumol the ex ante auction may
      over- or under-compensate innovation. But under-compensation is more likely when
      alternative technologies are close substitutes, which are precisely the cases where an
      ex ante auction makes most sense.

                 The under-compensation risk becomes more serious and troublesome when
      the assumptions of the basic Swanson and Baumol model fail to hold. Under-
      compensation is a serious risk when the ex ante auction degenerates in a buyers’

      71
           Swanson & Baumol, supra note 2, at 13.

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      cartel, which we saw could happen in the standard setting context. But it is likely to
      be a problem even if there is no coordination amongst SSO members: as we saw
      above, pure innovators may have to bid very low to win over their vertically
      integrated competitors.

               This risk has been denied by Skitol (2005). 72 Skitol maintains that
      “Information technology standard setting processes are one context in which
      carefully structured concerted buyer power could be pro-competitive”.73 He
      advocates an approach under which SSOs could “require, or at least affirmatively
      acknowledge, ‘ex ante’ disclosure of intended license terms to voting, with a related
      mechanism for collective negotiation of the license agreement.” 74 He claims that
      joint negotiations will not lead to “infracompetitive” licensing terms unless “the
      buying side of the SSO process possesses real ‘monopsony’ power”—i.e., “it
      encompasses most, if not all, of the expected market demand for the patent owner’s
      technology … Particularly, if the same buying group is expected to retain the same
      power over successive generations of the technology space in question …” If such
      monopsony power exist, “there could then be a resulting anticompetitive disincentive
      to investment in further innovation”. 75

               We have two comments. First, the possibility of monopsony power should not
      be underestimated. As explained above, licensors will often be unable to opt out of
      formal SSO processes: there may not be competing SSOs available, de facto
      standardization may not represent a feasible option, and there may be no
      commercially viable future for technologies which do not become an industry
      standard. In those cases, as Skitol recognises, collective negotiation of the licensing
      terms would result in under-compensation (“infracompetitive” prices) and
      underinvestment. Second, contrary to what Skitol claims, collective negotiation may
      also lead to underinvestment in R&D when the buying side of the SSO process does



      72
         Skitol, supra note 11.
      73
         Id. at 728.
      74
         Id. at 729. Emphasis added.
      75
         Id. at 740-741.

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      not encompass most of the expected market demand for the patent owner’s
      technology.

             Let us explain why. It is well-known that the outcome of a negotiation
      depends on the “exit options” available to each of the parties in the negotiation. A
      party with more (and more attractive) options can negotiate a better deal. 76 It is also
      known that legal rules can affect the exit options opened to the bargaining parties
      and, hence, modify the distribution of the gains for trade. 77 Consider, for example,
      that companies A and B need to license company C’s patented technology to lawfully
      develop and commercialise their products. Alternatively, they could use the
      technology developed by company D, which is however regarded as relatively
      inferior. Suppose further that joint licensing negotiations are prohibited so that when
      patent owner C negotiates with company A (resp., company B), it has the option to
      exit and deal with B (resp., A) only when A (resp., B) refuses to negotiate in good
      faith. Likewise, companies A and B have an outside option when negotiating with C:
      company D. Suppose instead that joint negotiations are lawful so that companies A
      and B negotiate jointly with company C. In this scenario, company C has no exit
      options, while companies A and B can still use technology D as an outside option in
      their joint negotiations with C. Compared with the scenario where joint negotiations
      are unlawful, company C will no longer be able to walk away if company A (and/or
      B) refuses to negotiate in good faith. As a result, the rents obtained when joint
      negotiations are possible may be below those it would receive under the Swanson-
      Baumol ex ante auction.



      IV. SIMULATING EX ANTE AUCTIONS


             Swanson and Baumol (2005) call only for an “auction-like process” to
      determine prices ex ante; an actual auction is not necessary. In late 2006 two SSOs

      76
        Binmore, Shaked, & Sutton, supra note 43.
      77
        DOUGLAS G. BAIRD, ROBERT H. GERTNER, & RANDALL C. PICKER, GAME THEORY AND THE LAW
      (1998).

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      claiming particular concerns about ex post opportunism approached the U.S.
      Department of Justice for Business Letter Reviews of just such auction-like processes
      implemented through their respective Intellectual Property Rights policies.

              The VMEbus International Trade Association (VITA) was the first to take
      this step. VITA’s standard setting arm, VSO, now requires the upfront disclosure of
      patents and patent licensing terms in connection with all VMEbus standard-setting
      activities. Each VSO member must, among other things, declare the maximum
      royalty rate for all the patent claims that it represents, owns, or controls and that may
      become essential to implement the standard in question. The most restrictive non-
      royalty terms must also be disclosed, with all declarations “irrevocable”, even though
      patent holders may submit later declarations with even less restrictive licensing terms
      (including lower royalties). With such a policy in place, the member votes for
      standard specifications can be interpreted as an auction. The members will be voting
      with both technology and price in mind, and the winners of the vote will be
      incorporated into the standard at their promised licensing terms. The Department of
      Justice stated that it did not intend to challenge the proposed policy unless the change
      proved anticompetitive in practice. 78

              The VSO is properly cognizant of the potential for cartel outcomes with ex
      ante disclosure. The policy is therefore careful to state that any joint discussion of
      terms within the SSO is prohibited. The declarations should form the upper bound,
      but all specific licenses must then be negotiated bilaterally and confidentially. It
      remains to be seen whether the policy will work as planned, though, with terms
      disclosed ex ante, used for specification determination, but not discussed at any SSO
      meetings.




      78
        Business Review Letter from Hon. Thomas Barnett to Robert Skitol, Esq. (Oct. 30, 2006), available
      at http://www.usdoj.gov/atr/public/busreview/219380.htm.

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               The IEEE (Institute for Electrical and Electronics Engineers) has a Business
      Letter Review for similar IP policy changes still pending before the DOJ.79 It is quite
      similar to the VITA policy, except in one important respect. 80 Specifically, in
      contrast to the express and unambiguous prohibition in the VITA policy against
      discussions among multiple prospective licensees of disclosed rates and terms, the
      IEEE policy explicitly permits and encourages such discussions. 81

               As discussed at length above, just like formal auctions these auction-like
      processes with ex ante term disclosure are at risk for under-compensating innovations
      (especially with the IEEE proposed policy change, given the endorsement of
      collective bargaining). In fact, both processes are likely to produce outcomes which
      coincide with those of a plain ex ante auction. To see this consider again the simple
      model developed by Swanson and Baumol (see Section II above), where two
      technologies A and B compete for selection to the standard, and technology A is
      superior to technology B in that it achieves a greater reduction in unit production
      costs. Suppose now that both IP holders are required to disclose a maximum royalty
      rate ex ante, that the disclosed terms represent an irrevocable commitment, and that
      the maximum disclosed terms are relied upon in the selection process. Technology A
      will be selected only if its technological advantage is not offset by a higher disclosed
      maximum royalty rate. If company A is rational and considers that company B is also
      likely to act rationally, it will anticipate that B will be prepared to set a very low
      maximum royalty rate, potentially as low as 0. Consequently, in order to be selected


      79
         Letter from Michael A. Lindsay, on behalf of IEEE-SA, to the DOJ, addressed to the Honourable
      Thomas Barnett, (Nov. 29, 2006).
      80
         In addition, rather than make the maximum royalty rate and most restrictive terms mandatory for all
      members, the IEEE claims that it is simply encouraging members to make such declarations. The
      mandatory-voluntary distinction is unlikely to make any difference in practice, however, if the
      consequence of nondisclosure is a refusal to consider for inclusion in a standard specification a
      technology for which no disclosure has occurred. .
      81
         See Section 5383 of the IEEE-SA Standards Operation Manual, which expressly permits the
      discussion by working group participants to discuss “relevant costs,” which may “include any
      potentially Essential Patent Claims.” See also Slide no. 5 of the IEEE PatCom Instructions to Working
      Group Chairs, instructing that “[r]elative costs, including license costs of essential patent claims of
      different technical approaches may be discussed.” In addition, the IEEE-SA Antitrust Policy is under
      revision to expressly permit the discussion of licensing costs as part of discussions of relative costs,
      directly within working group meetings.

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      with certainty, the maximum royalty rate that company A can charge is equal to 1,
      exactly as in the Swanson and Baumol model. Any higher rate could trigger the
      selection of technology B.

               The structure of disclosure reinforces this dynamic: maximum terms are
      offered first and subsequent disclosures can only offer better terms, which provides
      increased pressure on lowering licensing fees to “win” inclusion in a standard. This
      is, of course, the outcome desired by both the VITA and IEEE because of stated
      concerns over the perceived abuse of ex post market power. For example, VITA
      noted in its letter to the DOJ that “excessive license demands can stall
      implementation of a final standard”, but the specific instances it listed as support for
      this point all appear to concern a lack of adequate patent disclosure, not unreasonably
      high terms. 82 The IEEE concerns are even less specific and appear aimed at the mere
      possibility for ex post abuse, not an actual history of it. 83

               At the risk of being redundant, the problem with using ex ante auctions to
      correct for these perceived problems is the very real risk of under-compensation.
      When weighed against the potential risk of ex post market power abuse, these policy
      changes appear to us to go too far. Member firms concerned about inadequate
      remuneration for their risky innovation investments are likely to be concerned about
      the changes in SSO disclosure policy as well. In fact, the VSO has already lost one
      member due to the IP policy change: Motorola has reportedly left the SSO as a result
      of the new term disclosure rules.




      82
         The DOJ’s Business Review letter merely says that VITA faces royalties “higher than expected”.
      See Letter from Robert Skitol, on behalf of VITA, to the DOJ, addressed to the Honourable Thomas
      Barnett, p. 4.
      83
         “The difficulty with the current policy is that a RAND commitment is inherently vague. It can lead
      to expensive litigation whose cost and risk can impede the adoption of a socially valuable standard.
      Even where a license negotiation does not result in litigation, the ex post negotiation of license terms
      (that is, negotiations occurring after a technology’s inclusion in a standard has increased the patent-
      holder’s market power, potentially to the point of monopoly) can lead to higher royalty payments and
      ultimately higher prices to consumers.” See Letter from Michael A. Lindsay, supra note 79, at 3.

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      V. WHITHER RAND COMMITMENTS?


                Swanson and Baumol (2005) proposed a solution to the potential for ex post
      market power for technologies selected by standard-setting organisations: ex ante
      auctions sponsored by SSOs. The intuitive appeal of an ex ante auction is clear,
      assuming that ex post bargaining power is a problem to be solved, an assumption that
      may be invalid. Unfortunately, there are several reasons why SSO auctions are
      unlikely to deliver efficient outcomes in practice. This paper has explained them in
      detail.

                In a nutshell, Swanson and Baumol showed that an ex ante auction would
      produce outcomes which are different from those of a joint buyer cartel if three
      assumptions were satisfied. We have explained why those assumptions are unlikely
      to be met in many standard-setting processes. In these cases, the ex ante auction will
      degenerate into a buyers’ cartel. We have also shown that ex ante auctions are
      problematic even when those three assumptions hold. This is because SSO auctions
      will be characterised by incomplete information, asymmetric bidders, and multi-
      dimensional offerings. In particular, in many of those auctions, non-integrated
      bidders would compete with vertically integrated IP owners. We have shown that an
      ex ante auction design which works well when competing IP owners are all vertically
      integrated or all non-integrated, would not do so when there is heterogeneity among
      bidders. In that last case, vertically integrated bidders are likely to win the auction
      and/or force the non-integrated IP owners to bid very low in order to succeed. This
      would result in under-compensated pure innovators, reduced innovation and
      consumer harm.

                The first and most obvious implication of our analysis is that the ex ante
      auction approach cannot be relied on to interpret RAND commitments in all
      circumstances. In many cases, as for example when technology owners differ with
      respect to their degree of vertical integration, these auctions are likely to under-
      compensate innovation to the ultimate detriment of consumers. This does not imply
      that ex ante market outcomes do not provide useful information in those cases. Our

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      proposal is to use it to construct a “sufficiency test” (i.e., to define a safe harbour):
      evidence that ex post and ex ante licensing terms coincide would be sufficient though
      not necessary to establish compliance for RAND purposes.

               The absence of a precise, unambiguous test (that is, a test specifying
      necessary and sufficient conditions) may be regarded as undesirable and seen with
      apprehension. First, as explained by Lichtman (2007), 84 it is precisely its vagueness
      what makes RAND commitments such a powerful ex ante mechanism. Imprecise
      RAND commitments promote competition among the implementers of a standard.
      Actual negotiations take place bilaterally and confidentially, with public knowledge
      of the license offer no more specific than that it will be reasonable and fair. Each firm
      seeking a license has therefore strong incentives to negotiate the best terms it can win
      from the patent holder, so that its downstream operations acquire a competitive edge
      compared to other implementers. The RAND commitment then provides a backstop
      for this competitive process, enabling licensees to bring private lawsuits in the event
      that a patent holder is perceived as violating the commitment. With the threat of court
      imposed royalty terms (likely to be stringent, just as the US Federal Trade
      Commission imposed in the recent Rambus case 85 ), patent holders have strong
      incentives to live up to their RAND commitment. When viewed in this light, a vague
      RAND commitment can be seen as fostering competition, contrary to the claims of
      ex ante auction proponents. 86




      84
         Professor Doug Lichtman made this argument at a conference held in New York City, Mar. 14,
      2007. His presentation is available at http://www.lecgcp.com/us/events/index.aspx?id=9.
      85
         In the Matter of Rambus, Inc., FTC Docket No. 9302.
      86
         This argument constitutes an application to standard setting of the ideas developed in Oliver Hart &
      Jean Tirole, Vertical Integration and Market Foreclosure (MIT, Department of Economics, Working
      papers 548, 1990); Oliver Hart & Jean Tirole, Contract Renegotiation and Coasian Dynamics, 55(4)
      REV. ECON. STUD. 509 (1988); and Patrick Rey & Jean Tirole, A Primer on Foreclosure, in Mark
      Amstrong and Robert Porter (eds.) HANDBOOK OF INDUSTRIAL ORGANISATION, vol 3, forthcoming,
      2007. These authors show that an upstream monopolist may not be able to extract all downstream
      rents when negotiations with its customers and bilateral and confidential and it is unable to commit to
      non-discriminatory wholesale prices. It is precisely for this reason that a vague RAND commitment is
      likely to lead to low royalty rates. In their models, the upstream monopolist will be able to exercise its
      market power without restrictions if it becomes vertically integrated or has access to a commitment
      device.

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               Second, “it is entirely possible that after selection, alternative technologies (or
      even alternative standards) may remain viable substitutes for the standard
      technology”, 87 which eliminates the risk of ex post opportunism. Third, there are
      several other reasons why the owners of technologies selected to a standard may not
      be able to exercise market power ex post. Regardless of whether the patented
      technology faces viable substitutes, their licensing prices are constrained by the
      prices commanded by complementary patents within the standard. As noted by
      Swanson and Baumol, “much technology involves large amounts of intellectual
      property owned by many different firms, so a potential opportunist may place little
      weight on such freedom, recognizing that misbehavior only invites revenge by the
      proprietors of other essential IP rights who can wield them to block the activities of
      the hold out firm!” 88 That is, patent prices are limited by their context. In addition,
      patent holders without any downstream operations (upstream firms) are constrained
      by the elasticity of demand for the product in the end market. While vertically
      integrated firms can have incentives to raise rival downstream firms’ prices through
      their licensing terms, they may also be open to cross licensing agreements with other
      integrated companies, which can hold down royalty rates as well. And lastly, all
      firms face dynamic constraints through the formal standard setting process. Because
      standards evolve over time, and many high technology standards pass through
      multiple versions – mobile telecom is on its “third generation” (3G) currently, with
      3.5G, 4G, and “beyond 4G” already under development – any unreasonable pricing
      or abuse of market power can be punished in future iterations of the standard. 89




      87
         Swanson & Baumol, supra note 2, at 10.
      88
         Swanson & Baumol, supra note 2, at 49.
      89
         See DeLacey, et al., supra note 41; Joseph Farrell & Garth Saloner, Standardization, Compatibility,
      and Innovation, 16 RAND J. ECON. 70 (Spring 1985); Michael Katz & Carl Shapiro, Technology
      Adoption in the Presence of Network Externalities, 94 J. POL. ECON. 822 (1986).

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